                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:09CR52-FDW

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
               v.                                 )           PRELIMINARY ORDER
                                                  )             OF FORFEITURE
(2) LUCIANO CASTRO MANZANAREZ,                    )            (CONSENT ORDER)
                                                  )
                       Defendant.                 )

       In the Second Superseding Bill of Indictment in this case, the United States sought forfeiture

of property of the Defendant as property that was used or intended to be used to facilitate the crimes

charged, which would be subject to forfeiture under 21 U.S.C. § 853(a)(2).

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Second Superseding Bill of Indictment; and was adjudged guilty of the offenses charged in those

counts. In the plea agreement, Defendant consented generally to forfeiture, and defendant

subsequently has agreed to forfeit specific property as described below.

       It is therefore ORDERED:

       1. Based upon Defendant’s plea of guilty and consent to forfeiture, the United States is

authorized to seize the following property belonging to Defendant, and it is hereby forfeited to the

United States for disposition according to law, subject to the provisions of 21 U.S.C. § 853(n):

               One Colt .45 handgun, serial number 736123 and ammunition; and

               One 9mm Smith and Wesson, serial number 581116 and ammunition

       2. Pursuant to 21 U.S.C. §853(n)(1), the government shall publish notice of this order; notice

of its intent to dispose of the property in such manner as the Attorney General may direct; and notice



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that any person, other than the Defendant, having or claiming a legal interest in any of the above-

listed forfeited property must file a petition with the Court within thirty days of the final publication

of notice or of receipt of actual notice, whichever is earlier. This notice shall state that the petition

shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the property,

shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and extent

of the petitioner’s right, title or interest in each of the forfeited properties and any additional facts

supporting the petitioner’s claim and the relief sought. The United States may also, to the extent

practicable, provide direct written notice to any person known to have alleged an interest in property

that is the subject of this Order of Forfeiture, as a substitute for published notice as to those persons

so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. §853(n).

                                                   Signed: September 1, 2009




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